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TIMOTHY J. SILVERMAN, ESQ., BAR NO. 145264
PAMELA LaBRUYERE, ESQ., BAR NO. 159233
SOLOMON, GRINDLE, SILVERl\/IAN & SP]NELLA

A Professional

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Telephone: (858) 793-8500
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Attorneys for Plaintiff
SCOTT M. FOREMAN

lnre

NAOMI DYE-CHEN aka NAOMI

CHEN,

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA

Case No: 06-02200-l\/l7
Adv. Pro. 06-90460-M7
Debtor.

DECLARATION OF PAMELA
LaBRUYERE REGARDING STATUS

 

SCOTT l\/l. FOREMAN,

V.

NAOl\/II DYE-CHEN aka NAOMI CHEN,

OF ADVERSARY PROCEEDING

Date: None set

Tirne: n/ a

Dept: One

Judge: Hon. J ames W. Meyers

Plaintiff,

Defendant.

\/\./\_/\_/\_/`/\'/\_/\'/\/\/\/\/`/V\/\'/V\_/V\/

 

l, Pamela LaBruyere, declare:

l.

l am an attorney With Solornon, Grindle, Silverman & Spinella, APC, attorneys
for the Plaintiff, Scott M. Forernan, in the above-captioned adversary proceeding
(“Adversary”). l have personal knowledge of the facts set forth herein and if
called upon as a Witness, l could and-Would competently testify regarding these

facts.

 

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l0.

I make this declaration in order to advise the court of the status of the Adversary
after receipt of a Notice of Intent to Dismiss Adversary Proceeding with Prej udice
for Want of Prosecution (“Notice”).

The Notice required Plaintiff to respond within 20 days of February 20, 2008.
This matter was set for a Pre-Trial Stat'us Conference on February l, 2008.
Shortly before the status conference, the parties agreed to a settlement in principle
and the Court took the hearing off calendar.

Shortly thereafter, PlaintifF s counsel provided the proposed settlement documents
to counsel for Defendant Naorni Dye Chen (“Defendant”).

Since that time, the parties have engaged in negotiations regarding the details of
the settlement

Plaintiff is informed by Defendant’s counsel that the Defendant has agreed to the
settlement terms, but is out of the country until late l\/[arch 2008 and unable to
sign the documents prior to the Notice deadline

Plaintiff requests that the court vacate the Notice and consider this declaration in
lieu of the hearing required by the Notice.

Plaintiff further requests that the court allow until April l, 2008, for the parties to

sign and file the appropriate order or judgment or to notice the matter for hearing

l declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct and that this declaration was executed this l0th day of March, 2008,

in San Diego, California.

%M@< s%@£¢¢¢z,¢z,

Pamela LaBruyere

 

 

